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         16
         17
                                          UNITED STATES DISTRICT COURT
         18
                                        CENTRAL DISTRICT OF CALIFORNIA
         19

         20      NETLIST INC., a Delaware                  CASE NO. 8:20-cv-993-MCS (ADS)
                 corporation,
         21                                                FURTHER DECLARATION OF
         22
                                     Plaintiff,            RAYMOND A. LAMAGNA IN
                                                           SUPPORT OF PLAINTIFF NETLIST
         23            v.                                  INC.’S APPLICATION TO TAX
                                                           COSTS
         24      SAMSUNG ELECTRONICS CO.,
                 LTD., a Korean corporation,
         25
                                     Defendant.
         26
         27
         28

Gibson, Dunn &              LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
Crutcher LLP                                  CASE NO. 8:20-CV-993-MCS (ADS)
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           1                       FURTHER DECLARATION OF RAYMOND A. LAMAGNA
           2     I, Raymond A. LaMagna, declare as follows:
           3            1.      I represent Plaintiff Netlist, Inc. in the above-captioned matter and am an attorney

           4     admitted to practice before all of the Courts of the State of California and this Court. I have also
           5     provided a Declaration Under 28 U.S.C. § 1924 as part of Netlist’s CV-59 Application to the Clerk to
           6     Tax Costs. For the convenience of the Clerk, I am providing this Further Declaration in support of that
           7     Application to attest to additional supporting facts to those described in Netlist’s CV-59 Application.
           8     I have personal knowledge of the matters set forth herein, except where stated otherwise, and if called
           9     to testify, I could and would competently testify thereto.
         10             2.      Netlist brought this action in May 2020 in the Central District of California. Dkt. 1. It

         11      later filed a First Amended Complaint, which asserted three claims (two for breach of contract and one
         12      claim for declaratory judgment). Dkt. 18-2. On October 15, 2021, the Court granted partial summary
         13      judgment in favor of Netlist and against Defendant Samsung Electronics Co., Ltd. Dkt. 186. On
         14      February 15, 2022, the Court entered Judgment “in favor of Netlist” on all three of claims asserted in

         15      the matter. Dkt. 306. Per the Court’s Judgment, Netlist is a “prevailing party” in the litigation within
         16      the meaning of Federal Rule of Civil Procedure 54(d) and Civil Local Rule 54. (Id.)
         17             3.      I have reviewed Netlist’s Application to the Clerk to Tax Costs and the schedules and
         18      invoices for the costs submitted herewith. The costs listed therein and described below are all correctly
         19      stated, were necessarily incurred in this action, and the services for which fees have been charged were

         20      actually and necessarily performed. These costs are all directly attributable to the pursuit of claims
         21      asserted in this litigation and are recoverable by Netlist under 28 U.S.C. § 1920 and Civil Local Rule
         22      54-3. Where supporting material references both taxable and nontaxable costs, the invoices provided
         23      have been annotated in red to indicate the taxable portion.
         24             4.      Tab 1 attached hereto contains supporting materials for Netlist’s payment of “Clerk’s
         25      Fees” under Civil L.R. 54-3.1; namely those incurred for the filing of the Complaint. This consists of
         26      $400 advanced by Netlist’s legal courier (First Legal) for filing the case ($350 filing fee under 28
         27      U.S.C. § 1914(a) plus administrative fee for filing in a District Court).
         28
                                                                     1
Gibson, Dunn &               LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
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           1              5.        Tab 2 attached hereto contains supporting materials for Netlist’s payment of “Fees for
           2     Service of Process” under Civil L.R. 54-3.2. Netlist seeks costs incurred for:
           3              (a) service of the Complaint on Defendant Samsung, a Korean corporation, which service was

           4              required in Korea via procedures outlined and required by the Hague Convention, $965.90.
           5              (b) service of a deposition subpoena to nonparty witness Steven Metz, $711.45 (which required
           6              six service attempts);
           7              (c) service of a trial subpoena to witness Neal Knuth, $378.69 (the service fee only is requested
           8              in this category; the advanced witness fee and mileage is listed separately under Tab 6 below).
           9              6.        Tab 5 attached hereto contains supporting materials for Netlist’s taxable costs incurred
         10      for “Depositions” under Civil L.R. 54-3.5. Netlist seeks costs incurred for:

         11               (a) Cost of preparing the original transcription (exclusive of any charges for expedited
         12               preparation), the cost of an additional “rough” transcript (where applicable), and shipping and
         13               delivery fees (where applicable and charged), as summarized here:
                                                                           Per                               Shipping     Total
         14                                  Depo       Invoice   No. of   Page    Transcription                &       Transcript
                        Deponent             Date         No.     Pages    Cost        Cost        Rough     Handling     Costs
         15
                  Sasaki, Gail (Netlist)   8/5/2021    5186469     397     $3.85       $1,528.45     $0.00     $35.00   $1,563.45
                  Metz, Steven
         16
                  (former Samsung
                  employee)                8/6/2021    5187056     181     $5.25        $950.25    $271.50     $35.00   $1,256.75
         17
                  Jiang, Raymond
                  (former Netlist
         18
                  employee)                8/8/2021    5189177     285     $3.85       $1,097.25     $0.00     $35.00   $1,132.25
         19       Han, Kyuhan
                  (Samsung)                8/9/2021    5190986     180     $5.25        $945.00    $270.00     $35.00   $1,250.00
         20       Kim, Indong
                  (Samsung)                8/10/2021   5195011     181     $5.25        $950.25    $271.50     $35.00   $1,256.75
         21       Ji, Hyun-Ki
                  (Samsung)                8/11/2021   5239649     162     $5.25        $850.50      $0.00     $35.00    $885.50
         22
                  Kim, Lane Kihoon
         23       (Samsung)                8/11/2021   5198534     150     $5.25        $787.50    $225.00     $35.00   $1,047.50
                  Yu, Steven (Netlist)     8/11/2021   5195887     268     $3.85       $1,031.80   $402.00     $35.00   $1,468.80
         24       Hong, Paik Ki
                  (Netlist)                8/12/2021   5200952     357     $3.85       $1,374.45     $0.00     $35.00   $1,409.45
         25
                  Kim, Ho-Jung
         26       (Samsung)                8/12/2021   5201071     169     $5.25        $887.25    $253.50     $35.00   $1,175.75

                  Yoo, Hyeok-Sang
         27       (Samsung) (Vol. 1)       8/12/2021   5201632     137     $5.25        $719.25    $205.50     $35.00   $1,409.45
                  Hong, Chuck
         28       (Netlist)                8/13/2021   5201667     294     $3.85       $1,131.90     $0.00     $35.00   $1,166.90
                                                                             2
Gibson, Dunn &                 LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
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           1                                                           Per                                 Shipping     Total
                                         Depo       Invoice   No. of   Page    Transcription                  &       Transcript
           2          Deponent           Date         No.     Pages    Cost        Cost         Rough      Handling     Costs

           3
                 Yoo, Hyeok-Sang
           4     (Samsung) (Vol. 2)    8/13/2021   5201662     92      $5.25        $483.00      $138.00     $35.00    $656.00

                 Knuth, Neal
           5     (Samsung)             8/14/2021   5203329     244     $5.25       $1,281.00     $366.00     $35.00   $1,682.00

           6     Jeon, Byung Yeop
                 (Samsung) (Vol. 1)    8/15/2021   5204011     100     $5.25        $525.00      $150.00     $35.00    $710.00
           7     Jeon, Byung Yeop
                 (Samsung) (Vol. 2)    8/17/2021   5210903     149     $5.25        $782.25        $0.00     $35.00    $817.25
           8
                 McAlexander, Joseph
           9     (Samsung expert)      9/14/2021   5265321     170     $5.25        $892.50      $255.00     $35.00   $1,182.50
                 Akemann, Mike
         10      (Netlist expert)      9/16/2021   5270123     244     $3.85        $939.40      $366.00     $35.00   $1,340.40

                 Kam, Byungwook
         11
                 (Netlist expert)      9/20/2021   5273071     149     $3.85        $573.65      $223.50     $35.00    $832.15
         12      Kidder, Douglas
                 (Samsung expert)      9/20/2021   5365325     267     $5.25       $1,401.75     $400.50     $35.00   $1,837.25
         13                               TOTAL:                                $19,132.40     $3,798.00   $700.00    $24,080.10

         14
                                  The above includes only deposition transcripts used in this case (that is, those cited in
         15
                        motion practice, trial deposition designations, cross-examination preparation, and/or played
         16
                        before the jury). Deposition transcripts not used in the case have been excluded. The above
         17
                        also excludes any untaxable costs related to Real-time reporting, videography, online/video
         18
                        proceeding charges, technical support, or expedited delivery.
         19
                                  As stated in the letter from Netlist’s court reporting service (Vertiext) attached at the
         20
                        beginning of the invoices provided as Tab 5-A, the base transcription charge incurred above is
         21
                        $5.25 per page for the party booking and taking the deposition (i.e., covering the original
         22
                        transcription) and $3.85 per page for the party defending a deposition (i.e., once the original
         23
                        transcription has been ordered by the other party). To the extent expedite delivery was
         24
                        requested and not separately billed, such fees have been removed from the above list, as also
         25
                        evidence in the attached letter from Veritext and annotated invoicing that follows—no fees for
         26
                        expedited delivery are included or claimed by Netlist. While the above page rates charged to
         27
                        Netlist by Veritext may be marginally higher than that set by the Judicial Conference of the
         28
                                                                         3
Gibson, Dunn &                 LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
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           1         United States, in my experience these are reasonable and customary charges for such services
           2         procured in 2021 from a commercial reporting service. I personally negotiated the transcription
           3         rates charged here by Veritext, and the above rates reflect the present customary rates charged

           4         to Gibson Dunn by Veritext in other matters.
           5                I have extensive experience in negotiating fees with court reporting services and have
           6         observed noted upward pricing pressure over the last several years. As I understand from the
           7         reporting services with whom I have negotiated (including Veritext), these pricing increases
           8         result at least in part from a shortage of qualified court reporters coupled with COVID related
           9         limitations. In the present case, due to government-imposed COVID-related restrictions, it was
         10          necessary for Netlist and Samsung to conduct depositions by remote Internet “Zoom” platform.

         11          It was therefore necessary to retain a reporting service with the technical capabilities of hosting
         12          such depositions, including the capability to virtually upload, mark, and display exhibits. I
         13          considered several vendors before selecting Veritext as our service provider. Based on my
         14          review, Vertext offered competitive pricing among companies with the required capabilities.

         15          (b) Cost of fees charged by court reporters for attending the above depositions as follows:
                                                                                           Reporter
         16                      Deponent                Date         Invoice No.         Attendance
         17                                                                                  Fees
                         Metz, Steven                 8/6/2021           5187056               $250.00
         18              Han, Kyuhan*                 8/9/2021           5190986                $685.00
         19              Kim, Indong*                 8/10/2021          5195011                $400.00

         20              Ji, Hyun-Ki*                 8/11/2021          5239649                $970.00
                         Kim, Lane Kihoon*            8/11/2021          5198534              $1,112.50
         21
                         Kim, Ho-Jung*                8/12/2021          5201071              $1,160.00
         22
                         Yoo, Hyeok-Sang (Vol. 1)* 8/12/2021             5201632              $1,160.00
         23              Yoo, Hyeok-Sang (Vol. 2)* 8/13/2021             5201662                $922.50

         24              Knuth, Neal                  8/14/2021          5203329                $800.00
                         Jeon, Byung Yeop (Vol. 1)* 8/15/2021            5204011                $875.00
         25
                         Jeon, Byung Yeop (Vol. 2)* 8/17/2021            5210903                $922.50
         26              McAlexander, Joseph          9/14/2021          5265321                $125.00
         27              Kidder, Douglas              9/20/2021          5365325                $250.00

         28                                          Total:                                   $9,632.50
                                                                  4
Gibson, Dunn &          LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
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           1                    The invoices attached in support of this subcategory (b) are a subset of those attached
           2            in support of the above subcategory (a), but have been annotated to identify the specific charges
           3            applicable for this subcategory. As reflected above and in the attached invoicing, certain of the

           4            reporters charged higher rates or additional fees for appearances on nights and/or weekends
           5            U.S. time. Such fees were necessary in this case for two reasons: First, many deponents were
           6            appearing remotely from Korea at Defendant Samsung’s request and in light of prevailing
           7            COVID restrictions. While Defendant to be taxed saved the cost of travel for those deponents,
           8            given the time difference, it was necessary to start such depositions in the late afternoon Pacific
           9            time, and concluding them late at night, often after midnight (hence incurring a higher reporter
         10             appearance fee). Second, due to scheduling limitations of witnesses, several depositions were

         11             required to proceed on weekends Pacific time (in certain cases, this was necessary because the
         12             witness was being deposed Monday in Korea, which is Sunday evening Pacific time where the
         13             court reporter resided), which likewise resulted in additional appearance fees from the reporter.
         14                     Multiple Samsung witnesses (marked above by asterisk) also required that depositions

         15             proceed via Korean-language interpreter. Netlist accommodated Samsung’s needs, resulting in
         16             Netlist being charged court reporter appearance fees at a higher rate charged by reporters for an
         17             “interpreted proceeding.” Those fees are documented in Tab 5-B as well and included above.
         18             (c) The cost charged by the reporting service to copy or reproduce exhibits used at the
         19      deposition and made a part of the deposition transcript as follows:

         20                                                                             Charge to
                                                       Deposition        Invoice       Reproduce
         21                        Deponent              Date              No.      Deposition Exhibits
         22                  Sasaki, Gail                 8/5/2021       5186469                  $330.20
                             Metz, Steven                 8/6/2021       5187056                    $47.45
         23
                             Jiang, Raymond               8/8/2021       5189177                  $212.55
         24                  Han, Kyuhan                  8/9/2021       5190986                    $55.90
         25                  Kim, Indong)                8/10/2021       5195011                    $71.50

         26                  Ji, Hyun-Ki                 8/11/2021       5239649                    $73.45
                             Kim, Lane Kihoon            8/11/2021       5198534                  $114.40
         27
                             Yu, Steven                  8/11/2021       5195887                    $39.65
         28                  Hong, Paik Ki               8/12/2021       5200952                  $456.30
                                                                     5
Gibson, Dunn &              LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
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           1                                                                            Charge to
                                                       Deposition       Invoice        Reproduce
           2                        Deponent             Date             No.       Deposition Exhibits
           3                  Kim, Ho-Jung              8/12/2021       5201071                    $79.30
                              Yoo, Hyeok-Sang
           4                  (Vol. 1)                  8/12/2021       5201632                    $98.15
           5                  Hong, Chuck               8/13/2021       5201667                  $273.00
                              Yoo, Hyeok-Sang
           6                  (Vol. 2)                  8/13/2021       5201662                    $33.55
           7                  Knuth, Neal               8/14/2021       5203329                  $121.55
                              Jeon, Byung Yeop
           8                  (Vol. 1)                  8/15/2021       5204011                    $39.00
           9                  Jeon, Byung Yeop
                              (Vol. 2)                  8/17/2021       5210903                  $193.70
         10                   McAlexander, Joseph       9/14/2021       5265321                    $73.45
         11                   Akemann, Mike             9/16/2021       5270123                    $68.90
                              Kam, Byungwook            9/20/2021       5273071                    $38.35
         12
                              Kidder, Douglas           9/20/2021       5365325                  $169.50
         13
                              Total:                                                           $2,589.85
         14                     The invoices attached in support of this subcategory (c) are a subset of those attached
         15             in support of the above subcategory (a), but have been annotated to identify the specific charges
         16             applicable for this subcategory. The above costs are limited to the reproduction fees charged
         17             by the court reporter for only exhibits that were made a part of the above deposition transcripts.
         18             7.      Tab 6 attached hereto contains supporting materials for Netlist’s payment of “Witness
         19      Fees” under Civil L.R. 54-3.6 for the trial appearance of witness Neal Knuth. At statutory rates, the
         20      maximum reimbursement would be $72.89 for mileage (124.6 miles round trip at $.585/mile), plus a
         21      $40 witness fee per 28 U.S.C. § 1821, or $112.89 total (no subsistence was paid). Per the attached
         22      invoice, the amount to be taxed has been limited to $110 as that was what was paid to the witness.
         23      Documentation from Google Maps confirming the distance from the witness’s home to the courthouse
         24      is also attached to Tab 6.
         25
         26
         27
         28
                                                                    6
Gibson, Dunn &               LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
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           1            8.        Tab 7 attached hereto contains supporting materials for Netlist’s payment of
           2     “Interpreter’s Fees” under Civil L.R. 54-3.7. As noted above, Defendant to be taxed is a Korean
           3     corporation and multiple of Defendant’s witnesses requested that Plaintiff Netlist provide a translator.

           4     The interpreter’s fees incurred and paid by Netlist for those depositions and claimed here are as follows:
           5                 Invoice                           Description                             Amount
           6                  Date
                         08/18/2021 Kathy S. Sim Invoice No. 1220379 for the deposition of:
           7
                                        1) Ki-Hoon (Lan) Kim, August 12, 2021                           $800.00
           8                            2) Ho-Jung Kim, August 13, 2021                                 $900.00
           9
         10              08/19/2021 Ko & Martin Invoice No. 2354 for the deposition of:
                                        1) Cancellation fee [not claimed here as a cost]                    N/A
         11
                                        2) Kyuhan Han, August 9, 2021                                   $875.00
         12
                                        3) Indong Kim, August 10, 2021                                  $950.00
         13                             4) Hyunki Ji, August 11, 2021                                   $950.00
         14                             5) Hyeoksang (Harrison) Yoo, Vol. 1, August 12, 2021          $1,025.00
                                        6) Hyeoksang (Harrison) Yoo, Vol. 2, August 13, 2021            $800.00
         15
                                        7) Byungyeop Jeon, Vol 1, August 15, 2021                       $800.00
         16
                                        8) Byungyeop Jeon, Vol 2, August 16, 2021                       $800.00
         17
         18              09/21/2021 Ko & Martin Invoice No. 2383 for the deposition of:               $1,025.00
                                        Byungwook Kam, September 20, 2021
         19

         20
                         Total:                                                                       $8,925.00
         21
                        During discovery, Plaintiff and Defendant shared interpreters and split the cost of invoicing
         22
                        accordingly. As such, the above totals reflect only the 50% of the interpretation fees actually
         23
                        paid by Netlist and thus taxable under L.R. 54-3.7. The invoices provided with Tab 7 are
         24
                        accordingly annotated to reflect that Netlist is only applying to tax the cost for its half of the
         25
                        interpretation fees.
         26
         27
         28
                                                                     7
Gibson, Dunn &               LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
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           1            9.       Tab 10 attached hereto contains supporting materials for Netlist’s payment for
           2     “Reproduction of Documents” under Civil L.R. 54-3.10. Per the Court’s Order Re: Jury Trial, Dkt. 41
           3     (Feb. 12, 2021), the Court ordered the parties to “submit to the Court 1 original set of exhibit binders,

           4     and 2 copies” for all Trial Exhibits, subject to specific stamping, binding, and copying requirements.
           5     Id. at p. 13. A copy of the Court’s Order is attached to Tab 10. To comply with the Court’s Order, the
           6     parties jointly engaged a litigation service named Warp 9 to prepare the required stamped and bound
           7     copies, with each party paying half of the cost. Netlist hereby seeks its cost of $10,938.05, which is its
           8     portion of the fees paid to the vendor to comply with the above order. The invoice for copying attached
           9     to Tab 10 reflects only Netlist’s half of the overall cost of providing the copies required by the Court.
         10             10.      Tabs 3–4, 8–9, 11–15 are omitted and not attached as no costs are currently sought by

         11      Netlist under the corresponding categories as shown on Netlist’s associated CV-59 form.
         12
         13             I declare under penalty of perjury under the laws of the United States of America that the
         14      foregoing is true and correct. Executed on February 28, 2022, in Los Angeles, California.

         15
         16
         17
         18
         19                                                                        Raymond A. LaMagna

         20
         21
         22
         23
         24
         25
         26
         27
         28
                                                                     8
Gibson, Dunn &                LAMAGNA FURTHER DECLARATION ISO NETLIST’S APPLICATION TO TAX COSTS
Crutcher LLP                                    CASE NO. 8:20-CV-993-MCS (ADS)
